Case 1:15-Cv-06119-A.]N-.]LC Document367-5 Fi|ecj_ 0_6`/07/17~_ Page 1 ofil____

 

 

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Sep!embez i*'}. 2013
Roben M. Serpicc
aiding President
Ba'tter§; Park Cit“y Authnrit\-'
2001,aber;y Scr¢e-z '
New York` NY 1028§

Dear A::ting Prcsident Serpico,

'§h§s year. N€w ‘x’ork State Inspe.ctor Gcnerai Ca{herine Leahy Smtl provided
mandalor§' training entitled "`Ur\if@rm Guideli'nes and Cocie oi"Cr.mdacL"‘ 10 executive
managemenz, counsels__ exhics oHicem, and intcma} comroi officers of afl E.)cecutivc
branch agencies and authorizies_

You have not yet received the mandaton Lra`ming, in spite of being required m do
50 Addit;onal!y you have not responded to the Inspector Geaerai’ s conmunicalioa

dated September 'i lu‘ ,,2013 which advised you of two addiuenal dates for the training
bcmg provided by the Iusp€ctor Generai.

Piease contact laspector Genera¥ Scott, immediately at (518) 474-1010` to
discuss this matzen

Very' truly yours

   

Michael C. Ciarke
Chief of Staff and Co§mekd

